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                                         179051



                       IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



  IN RE JOHNSON & JOHNSON                      Civil No. 3:16-md-2738-MAS-RLS
  TALCUM POWDER PRODUCTS
  MARKETING, SALES, PRACTICES
  AND PRODUCTS LIABILITY
  LITIGATION

  This document relates to:
  Timothy Howard
  Case No. 3:24-cv-3493



                                   NOTICE OF FILING

        Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

 Complaints) that the Short Form Complaint and Jury Demand was filed on 03/17/2024 on behalf

 of Timothy Howard, Individually and as Anticipated Personal Representative for the Estate of

 Maretha Sharp-Howard, Deceased.


 DATED: 04/05/2024                            Respectfully submitted,

                                              By: /s/ Daniel J. Thornburgh

                                              Daniel J. Thornburgh
                                              AYLSTOCK, WITKIN,
                                              KREIS, AND OVERHOLTZ, PLLC
                                              17 East Main Street, Suite 200
                                              Pensacola, Florida 32502
                                              Telephone: 850-202-1010
                                              Fax: 850-916-7449
                                              dthornburgh@awkolaw.com

                                              Attorney for Plaintiff




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                                            179052


                                 CERTIFICATE OF SERVICE

        I hereby certify that on 04/05/2024, a copy of the foregoing NOTICE OF FILING was

 filed via the Court’s CM/ECF electronic filing system. Notice of this filing will be sent by

 operation of the Court’s electronic filing system to all parties indicated on the electronic filing

 receipt. Parties may access this filing through the Court’s system.


                                                 Respectfully submitted,

                                                 By: /s/ Daniel J. Thornburgh

                                                 Daniel J. Thornburgh
                                                 AYLSTOCK, WITKIN,
                                                 KREIS, AND OVERHOLTZ, PLLC
                                                 17 East Main Street, Suite 200
                                                 Pensacola, Florida 32502
                                                 Telephone: 850-202-1010
                                                 Fax: 850-916-7449
                                                 dthornburgh@awkolaw.com

                                                 Attorney for Plaintiff




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